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US. DISTRICT COURT
NORTHERN DIS ORIG) OF TEXAS

| FILED
UNITED STATES DISTRICT COURT JUN 10 2021 |
NORTHERN DISTRICT OF TEXAS

 

 

 

 

FORT WORTH DIVISION rk CS DSTRIG ky
Deputy
UNITED STATES OF AMERICA
‘ No. 4:21-MJ-417-BP

JOSE ANTONIO SANTOYO-HAROS (01)

CRIMINAL COMPLAINT

I, Special Agent Sheldon Jones, being duly sworn, me the following is true and
correct to the best of my knowledge and belief:

Alleged Offense:

On or about May 27, 2021, in the Fort Worth Division of the Northern District of
Texas, JOSE SANTOYO-HAROS did knowingly and intentionally possess with intent to
distribute a mixture and substance containing a detectable amount of cocaine, a Schedule
II controlled substance, in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C).

Probable Cause:

I, Sheldon Jones, under oath, duly state that I am a Special Agent (SA) with
Immigration and Customs Enforcement (ICE), Homeland Security Investigations (HSI).
The statements set forth in this affidavit are the product of my personal observations,
training, and experience, as well as information obtained from other law enforcement
Officers and witnesses. Moreover, the facts presented are true and correct to the best of
my knowledge and belief but are not inclusive of all the evidence or information involved
with this case.

Controlled Purchase of Cocaine #1 on Jan uary 15, 2021

1. In January 2021, HSI Special Agents (SAs) Sheldon Jones and Rudy Lara met
with a confidential informant (CI) at a predetermined location in reference to
making a consensual recorded phone call. SA-676-DA made a consensual
recorded phone call to HAROS at xxx-xx-1720.

2. SA Lara overheard the conversation in the Spanish language and explained the
conversation between the CI and HAROS. The CI arranged to meet with
HAROS later for the purchase of one (1) ounce of cocaine.

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3. On or about January 15, 2021, HSI, with the assistance of the FWPD Gang Unit,
FWPD Narcotics Units, Alcohol, Tobacco and Firearms (ATF) and the Drug
Enforcement Administration (DEA) conducted a controlled purchase of one (1)
ounce of cocaine from HAROS.

 

4, SAs Sheldon Jones and Rudy Lara met the CI at a predetermined location to
conduct a consensual recorded phone call to HAROS at xxx-xx-1720. Prior to
making the consensual phone call, agents searched Cl's person and vehicle for
contraband and/or weapons. The search was negative on both.

5. A few moments later, the CI was given a recording devi and instructed to make
a phone call to HAROS at xxx-xx-1720. The CI attempted to make two (2) phone
calls to the target number and got negative results. The CI was instructed to make
another consensually monitored phone call and HAROS answered the phone. The
CI told HAROS that his friend wanted to purchase one (1) ounce of cocaine.
HAROS said that it would be $1,300.00 for an ounce of cocaine. Furthermore,
HAROS stated that he was eating and would call Cl lafter his finished his meal.

6. During the conducted purchase, agents were conducting surveillance at HAROS’
residence and a car dealership known as the “Car Plug,” located on N. Main in
Fort Worth, Texas (believed to be HAROS’ work address). The CI made another
consensually monitored phone call to the target phone and HAROS set the
meeting location as the 3300 block of N. Grove Street, Fort Worth, Texas. The Cl
was given a video/recording device on his person prior to leaving the
predetermined location. A few minutes later, officers observed a Hispanic male
wearing all black exit HAROS’ residence and get into a light brown colored older
model Ford Mustang.

 

7. A few moments later, agents observed the Ford Mustang arrive at the 3300 block
of N. Grove Street. The CI arrived and conducted the controlled purchase of the
cocaine with HAROS. A few minutes later, agents observed the Ford Mustang
leaving N. Grove Street without incident.

8. Agents/officers started following the Ford Mustang that was identified by the CI

as the vehicle that the drug supplier was driving. The Ford Mustang drove back to
HAROS’ residence.

9. SAs Jones and Lara followed the CI back to a predetermined location where the CI
relinquished a clear baggie of a white, rock like substance suspected to be cocaine.
The CI's person and vehicle were both searched for contraband and weapons. The
results were negative on both.

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10. The CI advised that during the controlled purchase the CI got out of the vehicle
and spoke with HAROS. The CI stated that during the conversation with
HAROS, the CI observed what appeared to be a large quantity of a white rock like
substance in between the front seats in plain view in HAROS’ vehicle.

11. Immediately after the buy/walk, the surveillance and operation were terminated.

12.SAs Jones and Lara transported the suspected cocaine to the HSI Dallas Field
Office for processing.

13.SA Jones conducted a presumptive test on the suspected narcotics that yielded
positive for the presence of cocaine and weighed approximately 29.2 grams.

14. The suspected cocaine was placed in evidence in the HSI Dallas vault. The
controlled purchase has been captured on a video recording device.

Controlled Purchase of Cocaine #2 on April 15, 2021

15.On or about April 15, 2021, HSI, with the assistance of the FWPD Gang and
Narcotics Units conducted a controlled purchase of 1 ounce of cocaine from
HAROS. .

16. On the same date, SA Jones and Task Force Officer (TFO) Eugenio Vela met the
Cl at a predetermined location to conduct a consensual recorded phone call to
HAROS, xxx-xx-1720. Prior to making the consensual phone call, agents
searched the CI's person and vehicle for contraband and/or weapons. The search
was negative on both.

17.A few moments later, the CI was given a recording device and instructed to make
a phone call to the target number xxx-xx-1720. The CI attempted to make two (2)
additional consensually recorded phone calls to the target number and got negative
results. A few minutes later, the CI was contacted by HAROS on cellular number
XXX-XX-8455, The consensual phone call was overheard by the agents, as well as
recorded. The CI told HAROS that his friend wanted to purchase one ounce of
cocaine. HAROS said that he would meet the CI at the 3300 block of N. Grove
Street, Fort Worth.

18. The CI advised that HAROS was driving an older model silver Nissan 350Z,
Coupe with a temporary paper plate.

19. The CI stated that HAROS was conducting business at another car dealership/lot
located at on N. Main Street, Fort Worth. FWPD Narcotics Officers conducted
surveillance at this location and observed the silver Nissan 350Z in the parking lot

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of the car lot. Officers established surveillance at this location to follow the
vehicle.

20. At approximately 2:00p.m., the CI departed the predetermined location to meet
with HAROS. A few moments later, FWPD officers observed HAROS get inside
the Nissan 350Z and leave the Car Lot. A vehicle license registration check was
conducted and revealed the vehicle was registered to an individual with the same
address as the Car Plug.

21.F WPD officers followed HAROS until HAROS arrived at HAROS’ residence.
HSI agents were setup at that location and observed HAROS get out of his vehicle
and go inside. A few minutes later, agents observed HAROS exit the residence
and get inside the silver Nissan 350Z and drive away. FWPD officers continued
mobile surveillance on HAROS until HAROS arrived at the meet location at 3300
block of N. Grove Street.

22. At approximately 2:30p.m., agents observed HAROS driving away from the meet
location at a high rate of speed.

23.A few minutes later, agents followed the CI back to the predetermined location
and retrieved a white rock like substance.

24.SA Jones and TFO Vela retrieved the contraband from the CI. The CI stated that
HAROS wanted to meet the CI's friend. The CI stated that he asked HAROS that
his friend wanted to purchase a firearm. The CI said that HAROS asked if the
Cl's friend wanted a rifle or a machine gun. The CI said that his friend wanted a
machine gun. The CI said that HAROS said he was going to contact his supplier
to see what they had. Agents recovered the recording device from the CI.

25.SA Jones conducted a presumptive test on the suspected narcotics that tested
negative for the presence of cocaine and weighed approximately 28.27 grams.

26. The suspected cocaine was placed in the temporary vault as evidence in the HSI
SAC office.

27.On April 16, 2021, agents retrieved the suspected cocaine from the HSI evidence
vault and dropped it off at the DEA Lab for analysis.

28. The controlled purchase has been captured on a video recording device. and
placed in video evidence.

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Controlled Purchase of Cocaine #3 on May 27, 2021

29. On or about May 27, 2021, HSI, with the assistance of the Fort Worth Police
Department (FWPD) Gang Unit, FWPD Narcotics Units and the Drug
Enforcement Administration (DEA) conducted a controlled purchase of one (1)
ounce of cocaine from HAROS.

30.SA Sheldon Jones and TFO Eugenio Vela met a CI at a predetermined location to
conduct a consensual recorded phone call to HORAS xxx-xx-1720. Prior to
making the consensual phone call, agents searched CI's person and vehicle for
contraband and/or weapons. The search was negative on both.

31.A few moments later, the CI was given a recording device and instructed to make
a phone call to HAROS at xxx-xx-1720. The CI told HAROS that his friend
wanted to purchase one (1) ounce of cocaine. HAROS said that it would be
$1,300.00 for an ounce of cocaine. HAROS advised the CI that he could meet in
a few minutes at the 3300 block of N. Grove Street, Fort Worth.

32. Agents conducted surveillance at HAROS?’ residence and a car lot. At the car lot,
agents observed a Hispanic male, possibly HAROS, leaving the car lot in a silver
Infiniti G35 with a paper license plate number. Agents/Officers followed the
Infiniti and confirmed the vehicle was being driven by HAROS. The vehicle was
followed until HAROS arrived at the 3300 block of N. Grove Street. The CI met
with HAROS and the controlled purchase of cocaine was completed. A few
moments later, HAROS was observed leaving the area eastbound on 32nd Street
without incident.

33.SA Jones and TFO Vela followed the CI back to a predetermined location where
the CI relinquished a clear bag of a white rock like substance suspected to be
cocaine. The CI's person and vehicle were both searched for other contraband and
weapons. The results were negative on both. The CI advised that during the
meeting with HAROS, the CI got inside of HAROS' vehicle. The CI stated that
HAROS gave him a small clear bag of a white rock like substance. The CI stated
that another clear bag of the same substance was sitting in the center console of
the vehicle in plain view. The CI stated after the meeting was concluded that
HAROS drove away at a high rate of speed.

34. Agents/Officers followed HAROS back to HAROS’ residence and the
surveillance was terminated.

35.FWPD Officer H. Buendia collected, and field tested the suspected cocaine that

yielded positive for the presence of cocaine. The cocaine was taken to the FWPD
Evidence Room for safekeeping. The cocaine weighed 28.17 grams.

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36. The controlled purchase has been captured on a video recording device.

37. On June 8, 2021, SAs conducted two federal search warrants at HAROS’
residence on Neches Street and a used car lot on North Main Street where
HAROS works. During a subsequent interview, HAROS admitted to trafficking
approximately four kilograms of cocaine over the previous twelve months in the
Fort Worth metropolitan area.

Based on the facts and information presented above, I submit there is probable cause
to believe that JOSE SANTOYO-HAROS did willfully possess with intent to distribute
Cocaine, a Schedule II controlled substance, in violation of 21 U.S.C. § 841(a)(1) and

(b)C1)(C).

 

SKeldon Jones &~
Special Agent
Homeland Security Investigations

SWORN AND SUBSCRIBED before me, June lee 2021 at [39 am(6ni, Jn Fort

 

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UNITED STATES MAGISTRATE JUDGE

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